Due Process Order                                                                                           Page 1 of 1 Pages



                                     UNITED STATES DISTRICT COURT
                                           Western District of North Carolina
                                                           )
UNITED STATES OF AMERICA                                   )
             V.
                                                           )
                                                           )     Case Number: 1:23−cr−00014−MR−WCM
Thomas Dewey Taylor, Jr                                    )
      Defendant                                            )
                                                           )

                                                       ORDER

Pursuant to Rule 5(f) of the Federal Rules of Criminal Procedure, the Court confirms the obligation of the Government
to disclose to the defendant all exculpatory evidence that is, evidence that favors the defendant or casts doubt on the
case brought by the Government under Brady v. Maryland, 373 U.S. 83 (1963) and its progeny, and ORDERS the
Government to comply with this obligation. The Government is advised that failure to disclose exculpatory evidence in
a timely manner may result in the exclusion of evidence, dismissal of charges, contempt proceedings, disciplinary
actions, or other sanctions, as may be appropriate.

                                                    It is so ordered.




Date:      March 1, 2023




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